             Case 8:21-cv-00661-DFM Document 30 Filed 02/16/22 Page 1 of 7 Page ID #:230




1---    1 WILLIAM W. BLOCH, SBN 133139
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        5   Attorneys for Defendant
            JOHN B. BERZNER, an individual
        6

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        8                       UNITED STATES DISTRICT COURT
        9                     CENTRAL DISTRICT OF CALIFORNIA
       10
       11   ALEC GLASSER, an individual; THE             Case No. 8:21 -CV-00661 -JVS-DFM
            DRAKE IN LAGUNA, LLC, a
       12   California limited liability company,        [Removed from County of Orange,
                                                         Central Justice Center; Case No.: 30-
       13                                                2020-01146408-CU-DF-CJC]
                            Plaintiffs,
       14                                                NOTICE OF MOTION AND MOTION
                   v.                                    BY DEFENDANT'S COUNSEL TO
       15                                                WITHDRAW AS ATTORNEY OF
                                                         RECORD PURSUANT TO LOCAL
       16                                                RULE 83-2.3 .2;_DECLARATION OF
            JOHN B. BERZNER, an individual;              WILLIAM W. tiLOCH
       17   and DOES 1-20, inclusive,
                                                         Date: March 22, 2022
       18                                                Time: 10:00 a.m.
                             Defendants.                 Dept.: 6-B
       19

       20         TO PLAINTIFFS AND TO ALL INTERESTED PARTIES AND TO
       21   THEIR ATTORNEYS OF RECORD:
       22         PLEASE TAKE NOTICE that on March 22, 2022, at 1:30 p.m. or as soon
       23   thereafter as the matter may be heard in Courtroom 6-B of the above entitled
       24   court, located at 411 West Fourth Street, Santa Ana, California, William W. Bloch,
       25   attorney of record for Defendant in this action, will move the Court for an Order
       26   granting him permission to withdraw as attorney of record for Defendant herein.
~      27   II
       28
                   NOTICE OF MOTION AND MOTION TO WITHDRAW AS ATTORNEY OF RECORD PURSUANT
                             TO LOCAL RULE 83 -2.3.2; DECLARATION OF WILLIAM W. BLOCH
                                                     1
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                   This Motion will be made upon the grounds that Defendant's counsel is
        1
             unable to continuing representing Defendant in the instant matter due to an
       2
             irreconcilable breach in the attorney-client relationship.
       3
                   This Motion is based upon this Notice of Motion, the Memorandum of
       4
             Points and Authorities and Declaration of William W. Bloch filed herewith, upon
       5
             all pleading and documents on file in this matter to date, and upon such other and
       6
             further oral and documentary evidence as may be produced at the hearing of said
       7
             motion.
        8                    i7
             Dated: February) 8, 2022
       9

     10

     11                                                    WILLIAM W. BLOCH
                                                           Attom_ey_ for Defendant, JOHN
     12                                                    BERZNER
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                       NOTICE OF MOTION AND MOTION TO WITHDRAW AS ATTORNEY OF RECORD PURSUANT
                                 TO LOCAL RULE 83-2.3 .2; DECLARATION OF WILLIAM W. BLOCH
                                                       2
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                    MEMORANDUM OF POINTS AND AUTHORITIES
 1
     I.       INTRODUCTION
 2
              This action arises out of a claims for (1) Libel; (2) Intentional interference
 3
     with prospective economic relationship; and (3) Negligent interference with
 4
     prospective economic relationship, all stemming from a Yelp review posted by
 5
     Defendant following his visit to the Drake Restaurant in Laguna Beach, California
 6
     IN 2020. This matter was originally filed in state court, before being removed to
 7
     federal court due to Mr. Berzner's status as a New York resident.
 8
              In May of 2021, Defendant filed an anti-SLAPP motion which was denied.
 9
     Since then, the parties had a mediation which did not resolve the matter; limited
10
     discovery has been exchanged between the parties, and no depositions have been
11
     taken, though the depositions of Defendant Berzner and Plaintiff Glasser are
12
     currently set for March 1 and March 14, respectively.
13
              As set forth with more specificity in the Declaration of William W. Bloch,
14
     attached hereto, Defendant's counsel is unable to continue representing Defendant
15
     due to an irreparable breakdown in the attorney-client relationship.
16
     II.      AN ATTORNEY IN AN ACTION MAY BE CHANGED AT ANY
17
              TIME BEFORE OR AFTER JUDGMENT
18
              Pursuant to California Code of Civil Procedure §284(2) an attorney in an
19
     action may be changed at any time before or after judgment or final determination
20
     upon order of the court, upon the application of either client or attorney, after
21
     notice from one to the other. Local Rule 83-2.3.2 Motion for Withdrawal states:
22
     "An attorney may not withdraw as counsel except by leave of court. An
23
     application for leave to withdraw must be made upon written notice given
24
     reasonably in advance to the client and to all other parties who have appeared in
25
     the action."
26
     II
27
28
               NOTICE OF MOTION AND MOTION TO WITHDRAW AS ATTORNEY OF RECORD PURSUANT
                         TO LOCAL RULE 83-2.3.2; DECLARATION OF WILLIAM W. BLOCH
                                                  3
      Case 8:21-cv-00661-DFM Document 30 Filed 02/16/22 Page 4 of 7 Page ID #:233




 1   III.   THE COURT MAY IN ITS DISCRETION PERMIT AN ATTORNEY
 2          TO WITHDRAW AS COUNSEL FOR A PARTY IN THE ACTION
 3          Local Rule 83-2.3.3 Delays by Substitution ofAttorneys states: "Unless
 4   good cause is shown and the ends of justice require, no substitution or relief of
 5   attorney will be approved that will cause delay in prosecution of the case to
 6
     completion." See Darby v. Torrance, 810 F. Supp. 275 (C.D. Cal. 1992). Here,
 7

 8
     trial is set for late June 2022, so that withdrawal at this stage will not cause delay

 9   in prosecution.
10
            In the case of People v. Brown, 203 Cal.App.3d 1335, 1340, 250 Cal. Rptr.
11
12   762 (1988), the Court held that: "The granting or denying of a motion [to
13
     withdraw] by an attorney lies within the sound discretion of the trial court."
14

15
            California state courts have further held in the Jones v. Green, 74

16   Cal.app.2d 223,230, 168; P.2d 418 (1946): "It is not an abuse of discretion or an
17
     arbitrary exercise of discretionary power for the court to permit counsel to
18
19   withdraw." Attorney Bloch's irreconciliable breach with his client makes it
20
     impossible for him to continue forward as defense counsel.
21

22
            In spite of his requests to Mr. Berzner to substitute in new counsel, Attorney

23   Bloch finds himself compelled to file the instant motion to be relieved based on
24
     his ongoing and continuing communication breaches, and other impediments and
25
26   their irreconcilable conflict. See Bloch dee., il_•
27
            Due to these problems, Attorney Bloch can not in good faith proceed
28
             NOTICE OF MOTION AND MOTION TO WITHDRAW AS ATTORNEY OF RECORD PURSUANT
                       TO LOCAL RULE 83-2.3.2; DECLARATION OF WILLIAM W. BLOCH
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                Case 8:21-cv-00661-DFM Document 30 Filed 02/16/22 Page 5 of 7 Page ID #:234




r ...._    1   forward and represent defendantP. Accordingly, it is for this reason that Attorney
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               Bloch requests that the court grant his motion to withdraw as attorney of record for
           3

           4   Defendant John Berzner.
           5
               IV.   CONCLUSION
           6
                     Based upon the above, Attorney William W. Bloch requests that the instant
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               motion to be relieved as counsel for defendant Berzner be granted.
           8                     i5
           9   Dated: February   JS: 2022
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          10                                                ,'•        /   •i••
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                                                           WILLIAM W. BLOCH
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          11
                                                     Attorney for Defendant, JOHN BERZNER
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                      NOTICE OF MOTION AND MOTION TO WITHDRAW AS ATTORNEY OF RECORD PURSUANT
                                TO LOCAL RULE 83-2.3.2; DECLARATION OF WILLIAM W. BLOCH
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        12                                                  Central Justice Center,· Case No.: 30-
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        13                      Plaintiffs,
                                                            DECLARATION OF WILLIAM W.
r--:: 14            V.                                      BLOCH IN SUPPORT OF MOTION
   "'                                                       TO BE RELIEVED AS COUNSEL
        15
                                                            Date: March 22, 2022
        16   JOHN B. BERZNER, an individual;                Time: 10:00 a.m.
             and DOES 1-20, inclusive,                      Dept.: 6-B
        17

        18                      Defendants.
        19

        20         I, WILLIAM W. BLOCH, declare:
        21         1.      I am an attorney duly licensed to practice before this and all the Courts
        22   of the State of California. I am one of the attorneys of record for Plaintiff DAVID
        23   ROTH. I am aware of the facts stated herein of my own knowledge, and if called to
        24   testify thereto, I could and would competently so testify.
        25         2.      Defendant JOHN BERZNER (hereinafter "BERZNER") is the defendant
        26   in the instant action for libel and other claims concerning BERZNER' s Yelp review
        27   of the Plaintiff restaurant. Initially, this matter was filed in State court where I
        28
                         DECLARATION OF WILLIAM W. BLOCH IN SUPPORT OF MOTION TO BE RELIEVED AS
                                                       COUNSEL
                                                        1
        Case 8:21-cv-00661-DFM Document 30 Filed 02/16/22 Page 7 of 7 Page ID #:236



        practice.    Subsequently, this matter was removed to Federal Court. To date,
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        BERZNER has been represented by my office.
    2
              3.      In or about January 2022 and forward, the relationship with Mr. Berzner
    3
        and my firm was riven by an iurreconcilable conflict that makes it impossible to still
    4
        represent defendant. I have had serious communication and other issues I do not
    5
        want to discuss due to attorney client privilege.
    6
              4. I have urged Mr. Berzner to obtain new counsel, but to date he has failed to
    7
        do so. Due to the serious breach of the attorney client relationship and reasons I
    8
        cannot discuss in detail, I am seeking to be relieved as Mr. Berzner's counsel in this
    9
        matter.
              I declare under penalty of perjury under the laws of the State of California that
   11                                                       (
        the foregoing is true and correct. Executed this    / th day of February, 2022, at Los
   12
        Angeles, California.
   13

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   15
                                                WILLIAM W. BLOCH, Attorneys                for
   16                                           Defendant JOHN BERZNER
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                    DECLARATION OF WILLIAM W. BLOCH IN SUPPORT OF MOTION TO BE RELIEVED AS
                                                  COUNSEL
                                                  2
